     Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 1 of 41. PageID #: 170




                           UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION OPIATE MDL No. 2804
LITIGATION
                                    Case No. 1:17-md-2804
This document relates to:
                                                   Judge Dan Aaron Polster
County of Tarrant v. Purdue Pharma L.P., et SHORT FORM FOR SUPPLEMENTING
al., Civil Action No. 1:18-op-45274 (N.D. of COMPLAINT AND AMENDING
TX)                                          DEFENDANTS AND JURY DEMAND



       Plaintiff, County of Tarrant, Texas, submits this supplemental pleading and Amended

Complaint incorporating as if fully set forth herein its own prior pleadings and, if indicated

below, the common factual allegations identified and the RICO causes of action included in the

Corrected Second Amended Complaint and Jury Demand in the case of The County of Summit,

Ohio, et al., v. Purdue Pharma L.P., et al., Case No. 1:18-op-45090 (“Summit County

Pleadings”), In Re National Prescription Opiate Litigation, in the United States District Court

for the Northern District of Ohio, Dkt #513, 514 1), and as may be amended in the future, and any

additional claims asserted herein.    Plaintiff also hereby amends its complaint to alter the

defendants against which claims are asserted as identified below. To the extent defendants were

previously sued in plaintiff(s)’ existing complaint and they are no longer identified as defendants

herein, they have been dismissed without prejudice except as limited by CMO-1, Section 6(e).

Doc. #232.

1
  Docket #513 is the redacted Summit Second Amended Complaint and Docket #514 is the
unredacted Summit Corrected Second Amended Complaint filed under seal in Case No. 1:17-
md-02804-DAP. The redacted Summit Corrected Second Amended Complaint is also filed in its
individual docket, Case No. 1:18-op-45090-DAP, Docket #24.
     Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 2 of 41. PageID #: 171




           INCORPORATION BY REFERENCE OF EXISTING COMPLAINT

       1.      Plaintiff(s)’ Existing Complaint (No.18-CV-00518-D (N.D. of TX), Dkt. #1) is
expressly incorporated by reference to this Short Form as if fully set forth herein except to the
extent that allegations regarding certain defendants that are not listed in section 2 below are
dismissed without prejudice.

                                  PARTIES – DEFENDANTS

       2.     Having reviewed the relevant ARCOS data, 2 Plaintiff asserts claims against the
following Defendants:

       Originally Named Defendants
       Purdue Pharma L.P.
       Purdue Pharma Inc.
       The Purdue Frederick Company
       Johnson & Johnson
       Janssen Pharmaceuticals, Inc.
       Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janseen Pharmaceuticals, Inc.
       Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc.
       Endo Health Solutions Inc.
       Endo Pharmaceuticals, Inc.
       Abbvie Inc.
       Knoll Pharmaceutical Company
       Allergan PLC f/k/a Actavis PLC f/k/a Watson Pharmaceuticals, Inc. 3
       Watson Laboratories, Inc.
       Actavis LLC
       Actavis Pharma, Inc.
       McKesson Corporation
       Cardinal Health, Inc.
       Amerisourcebergen Corporation

2
  Pursuant to the Court’s November 8, 2018 Order Regarding Plaintiff’s Motion for Modification
of CMO-1 (Dkt. 1106), the ARCOS data provided to Plaintiff reflects: “the names of all labelers
(as identified by NDC code) who manufactured and/or labeled more than five percent (5%) of
the market share of opioids distributed in the relevant county or county-equivalent in at least
three of the nine years available in the ARCOS data” and “the name of each distributor who
distributed more than five percent (5%) of the market share of opioids distributed in the relevant
county or county-equivalent in at least three of the nine years available in the ARCOS data.”
3
 The list of Allergan-related entities shall be understood to incorporate all affiliates that owned,
manufactured, distributed, monitored, or sold opioid medicines at issue, including: Allergan
Finance, LLC; Allergan Sales, LLC; Allergan USA, Inc.; Warner Chilcott Company, LLC;
Watson Laboratories, Inc.; Actavis Elizabeth LLC; Actavis Pharma, Inc.; Actavis LLC; Actavis
Mid Atlantic LLC; Actavis Kadian LLC; Actavis Totowa LLC; Actavis South Atlantic LLC;
Actavis Laboratories UT, Inc.; and Actavis Laboratories FL, Inc.

                                                 2
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 3 of 41. PageID #: 172




       Additional Manufacturer/Labeler Defendants
       SpecGx LLC
       Par Pharmaceutical, LLC
       HIKMA Pharmaceuticals PLC, d/b/a HIKMA Pharmaceuticals USA Inc. f/k/a West-
       Ward Pharmaceutical Corp.
       Indivior Inc., f/k/a Reckitt Benckiser Pharmaceuticals, Inc.
       Mylan Pharmaceuticals, Inc.

       Additional Distributor Defendants
       Walgreen Co.
       CVS Pharmacy, Inc.
       Morris & Dickson Co., LLC
       Walmart Inc.
       H.D. Smith, LLC

I, Evan M. Janush, Counsel for Plaintiff, certify that in identifying all Defendants, I have
followed the procedure approved by the Court and reviewed the ARCOS data that I
understand to be relevant to Plaintiff.

I further certify that, except as set forth below, each of the Defendants newly added herein
appears in the ARCOS data I reviewed.

I understand that for each newly added Defendant not appearing in the ARCOS data I
must set forth below factual allegations sufficient to state a claim against any such newly
named Defendant that does not appear in the ARCOS data.

The following newly added Defendant(s) do not appear in the ARCOS data I reviewed:

Beverly Sackler
David A. Sackler
Ilene Sackler Lefcourt
Jonathan D. Sackler
Kathe A. Sackler
Mortimer D. A. Sackler
Richard S. Sackler
Theresa Sackler
Stuart Baker
Raymond Sackler Trust
Rhodes Pharmaceuticals Inc.
Rhodes Pharmaceuticals L. P.
Rhodes Technologies
Rhodes Technologies Inc.
P.F. Laboratories, Inc.

Dated: 3/15/2019               Signed: s/ Evan M. Janush


                                              3
     Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 4 of 41. PageID #: 173




Factual Allegations Regarding Individual Defendants

       1.      Defendants include the entities identified below as well as their predecessors,

successors, affiliates, subsidiaries, partnerships and divisions to the extent that they are engaged

in the manufacture, promotion, distribution, sale and/or dispensing of opioids.

       2.      The new defendants added fall into three categories: (a) Purdue-Related

Additional Defendants, which are entities and individuals related to original Defendants Purdue

Pharma L.P. (“PPLP”), Purdue Pharma Inc. (“PPI”), and The Purdue Frederick Company, Inc.

(“PFC”) (collectively “Purdue”); (b) Additional Manufacturers, which are additional

manufacturers of prescription opioids who engaged in the fraudulent marketing conduct

described in the County’s Complaint and/or failed to detect suspicious orders and prevent

diversion of opioids to and within the County; and (c) Additional Distributors, which are

additional wholesale distributors of prescription opioids who engaged in the conduct of the

Distributors named in the County’s Complaint.

A.     Allegations Against the Purdue-Related Additional Defendants
               (1)     The Purdue-Related Additional Defendants
       3.      Purdue-Related Additional Defendants are entities and individuals associated with

Purdue, but not named in the County’s Complaint. Three Purdue entities, PPLP, PPI, and PFC,

were named as defendants in the County’s Complaint; each of them was designated as a

defendant by the County in its Complaint. These three entities are members of a worldwide

group of associated companies all of which are owned and controlled, directly or indirectly

through family trusts and holding companies, 50% by the widow and descendants of Mortimer

D. Sackler (“Mortimer Sackler Family”) and 50% by the widow and descendants of Raymond R.

Sackler (“Raymond Sackler Family”) (together the Mortimer Sackler Family and the Raymond

Sackler Family are referred to as the “Sackler Families”). At all relevant times, the Sackler


                                                 4
     Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 5 of 41. PageID #: 174




Families jointly managed and controlled all of the associated companies that the two families

owned. Each of the Purdue-related individuals and entities named herein as Additional

Defendants knowingly aided, abetted, participated in, and benefitted from the wrongdoing of

Purdue as alleged in the Complaint; none is named merely because of his, her, or its status as a

shareholder, limited partner, member of a limited liability company, or beneficiary of a trust.

       4.      Purdue has been sued by many plaintiffs for the role it played in creating the

opioid epidemic, a role more fully described in the County’s Complaint. The three Purdue

entities originally sued, PPLP, PPI, and PFC, may, however, lack sufficient assets to satisfy their

liabilities to those plaintiffs, other creditors, and Plaintiff, because billions of dollars of profits

from Purdue’s sale of opioids has been distributed to the Sackler Families since the 1980s.

Accordingly, by this pleading, Plaintiff is adding as defendants those members of the Sackler

Families and their controlled entities who knowingly participated in the wrongdoing of Purdue as

alleged in the County’sComplaint, and who knowingly received the benefits of that wrongdoing.

       5.      Defendant Richard S. Sackler is a natural person residing in Travis County,

Texas. He is a son of Raymond Sackler and, beginning in the 1990’s, served as a member of the

Board of Directors of Purdue and Purdue-related entities.

       6.      Defendant Jonathan D. Sackler is a natural person residing in Fairfield County,

Connecticut. He is a son of Raymond Sackler and has been a member of the Board of Directors

of Purdue and Purdue-related entities since the 1990s.

       7.      Defendant Mortimer D.A. Sackler is a natural person residing in New York

County, New York. He is the son of Mortimer Sackler and has been a member of the board of

directors of Purdue and Purdue-related entities since the 1990s.




                                                  5
     Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 6 of 41. PageID #: 175




       8.      Defendant Kathe A. Sackler is a natural person residing in Fairfield County,

Connecticut. She is the daughter of Mortimer Sackler and has served as a member of the board of

directors of Purdue and Purdue-related entities since the 1990s.

       9.      Defendant Ilene Sackler Lefcourt is a natural person residing in New York

County, New York. She is the daughter of Mortimer Sackler and has served as a member of the

board of directors of Purdue and Purdue-related entities since the 1990s.

       10.     Defendant Beverly Sackler is a natural person residing in Fairfield County,

Connecticut. She is the widow of Raymond Sackler and has served as a member of the board of

directors of Purdue and Purdue-related entities since the 1990s.

       11.     Defendant Theresa Sackler is a natural person residing in New York County, New

York. She is the widow of Mortimer Sackler and has served as a member of the board of

directors of Purdue and Purdue-related entities since the 1990s.

       12.     Defendant David A. Sackler is a natural person residing in New York County,

New York. He is the son of Richard Sackler (and thus grandson of Raymond Sackler) and has

served as a member of the board of directors of Purdue and Purdue-related entities since 2012.

       13.     Defendant Rhodes Technologies (“Rhodes Tech”) is a Delaware general

partnership formed on April 12, 2005 with its principal place of business in Coventry, R.I. At

relevant times, Rhodes Tech or its predecessor has manufactured and supplied Purdue with

oxycodone, the active pharmaceutical ingredient in OxyContin, for use in the manufacture of

pharmaceutical preparations.

       14.     Defendant Rhodes Technologies Inc. (“Rhodes Tech Inc.”) is a Delaware

corporation formed January 28, 1999 with its principal place of business in Coventry, R.I.

Rhodes Tech Inc. is a general partner of Rhodes Tech. At relevant times, Rhodes Tech Inc. has


                                                6
     Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 7 of 41. PageID #: 176




manufactured and supplied Purdue with oxycodone, the active pharmaceutical ingredient in

OxyContin, for use in the manufacture of pharmaceutical preparations or has managed Rhodes

Tech or its predecessor in doing so.

       15.     Defendant Rhodes Pharmaceuticals L.P. (“Rhodes Pharma”) is a Delaware

limited partnership formed November 9, 2007 with its principal place of business in Coventry,

R.I. At all relevant times, Rhodes Pharma has marketed a generic form of OxyContin which is

manufactured by Purdue Pharmaceuticals L.P. (“PPNC”), a Delaware limited partnership, which

is a subsidiary of Defendant PPLP and which owns and operates a pharmaceutical manufacturing

facility in Wilson, North Carolina.

       16.     Defendant Rhodes Pharmaceuticals Inc. (“Rhodes Pharma Inc.”) is a New York

corporation formed on November 9, 2007. Rhodes Pharma Inc. is a general partner of Rhodes

Pharma. At all relevant times, Rhodes Pharma Inc. has marketed a generic form of OxyContin

which is manufactured by PPNC.

       17.     Defendant Trust for the Benefit of Members of the Raymond Sackler Family (the

“Raymond Sackler Trust”) is a trust of which Defendants Beverly Sackler, Richard S. Sackler,

and/or Jonathan D. Sackler are trustees. It is the 50% direct or indirect beneficial owner of

Purdue and the Purdue-related Additional Defendants and the recipient of 50% of the profits

from the sale of opioids by Purdue and the Purdue-related Additional Defendants.

       18.     Defendant The P.F. Laboratories, Inc. (“PF Labs”) is a New Jersey corporation

with its principal place of business located in Totowa, New Jersey. It was, at relevant times,

engaged in the business of manufacturing OxyContin for Purdue. At all relevant times, PF Labs

has been beneficially owned, managed, and controlled by Defendant Sackler Family members.




                                               7
     Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 8 of 41. PageID #: 177




        19.     Defendant Stuart D. Baker is a natural person residing in Suffolk County, New

York. He has served as a senior executive of, and/or counsel to, Purdue, Purdue-related entities,

and members of the Sackler Families since the 1990s.

        20.     Defendants Richard S. Sackler, Jonathan D. Sackler, Mortimer D.A. Sackler,

Kathe A. Sackler, Ilene Sackler Lefcourt, Beverly Sackler, Theresa Sackler, David A. Sackler,

Stuart Baker, Rhodes Tech, Rhodes Tech Inc., Rhodes Pharma, Rhodes Pharma Inc., Raymond

Sackler Trust, PF Labs, Par Pharmaceutical, Inc., are “Manufacturer Defendants” as used in the

County’s Complaint. Plaintiff adopts all allegations and causes of action alleged against the

Manufacturer Defendants in its Complaint against these defendants as if fully set forth herein.

                (2)     The Purdue-Related Additional Defendants Participated in and
                        Profited from Purdue’s Wrongdoing
                        (a)     Structure of the Purdue Entities and the Roles of the Individual
                                Purdue-Related Defendants
        21.     At all relevant times, the Sackler Families – in particular, as detailed below,

Richard Sackler, Jonathan Sackler, Mortimer D.A. Sackler, Kathe Sackler, Beverly Sackler,

Theresa Sackler, Ilene Sackler Lefcourt, David Sackler, and Raymond Sackler Trust (“Sackler

Defendants”) – controlled Purdue and its associated companies. Purdue is part of a complicated

web of entities through which the Sackler Families operate. PPI is the managing general partner

of PPLP and of many of the various Purdue-related entities. Its status as managing general

partner of the various entities ensures PPI’s control of those entities. In turn, at all relevant times,

all of the members of the board of PPI have been members of the Sackler Families or Sackler-

family retainers.     The Purdue-related Additional Defendants that are not controlled by the

Sackler Defendants through PPI are controlled by them through different entities unknown to

Plaintiff.




                                                   8
     Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 9 of 41. PageID #: 178




       22.     Because the Sackler Families control of the board of PPI, the officers of PPI and

PPLP reported to them. This ensured Sackler control of PPI and PPLP, even when the officers of

those entities were not themselves members of the Sackler Families.

       23.     The Sackler Defendants are beneficial owners of, and exercise complete control

over, all four Rhodes Defendants and PF Labs.

       24.     The Sackler Defendants made the decision that the Sackler Families should enter

the generic market for OxyContin in or about 2008 and that it should do so through Rhodes

Pharma, a Sackler-owned entity created for that purpose.

       25.     The Sackler Defendants caused Purdue and other associated companies that they

beneficially owned and controlled to distribute to the Sackler Families hundreds of millions of

dollars of profits earned by Purdue and its associated companies from the sale of opioids.

       26.     Each of the Sackler Defendants named herein has served on the board of directors

of, or as an officer of, Purdue and one or more Purdue-related Additional Defendants.

       27.     The Sackler Defendants beneficially own and control all of the entities owned by

the Sackler Families, including PF Labs and the Rhodes Defendants, in substantially the same

way as they control PPLP and its affiliates, although they may do so using different holding

companies and trusts than those used to control PPLP.

       28.     At all relevant times, Richard Sackler played an active and central role in the

management of Purdue and the Purdue-related Additional Defendants. He began working for

Purdue as Assistant to the President (his father, Raymond) in the 1970s. He later served as Vice

President of Marketing and Sales. In the early 1990s he became Senior Vice President, which

was the position he held at the time OxyContin was launched in 1996. In 1999, he became

President, and he served in that position until 2003.


                                                 9
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 10 of 41. PageID #: 179




       29.     Richard Sackler resigned as President in 2003, apparently due to a concern that

executive officers of Purdue would be held personally liable for opioid-related liabilities and

crimes. However, he continued to serve, with his uncle Mortimer, as Co-Chair of the Board of

Purdue. In that way, among others, the family maintained control over their family business,

even though they were no longer officers, because the officers reported to them.

       30.     As a senior executive of Purdue, Richard Sackler was actively involved in the

invention, development, marketing, promotion, and sale of Purdue’s opioid products, including

OxyContin. He worked tirelessly to make OxyContin a blockbuster, telling colleagues how

devoted he was to the drug’s success. Along with his father (Raymond) and his uncle

(Mortimer), he launched OxyContin with one of the biggest pharmaceutical marketing

campaigns in history, deploying many persuasive techniques pioneered by his uncle Arthur.

Within five years of its introduction, OxyContin was generating a billion dollars a year. When

OxyContin met with resistance, Richard participated in Purdue’s efforts to counter that

resistance.

       31.     At all relevant times, Richard Sackler served as a trustee of one or more trusts that

beneficially own and control Purdue and the Purdue-related Additional Defendants.

       32.     Richard Sackler is the direct or indirect beneficiary of some portion of 25% of the

profits earned by Purdue and the Purdue-related Additional Defendants named herein as

additional defendants from the sale of opioids.

       33.     Jonathan Sackler was a Vice President of Purdue in 1991, and by 2000 he was a

Senior Vice President. Like his brother Richard, he resigned that position in or after 2003,

apparently due to a concern that executive officers of Purdue would be held personally liable for

opioid-related liabilities and crimes. However, he continued to serve on the board of Purdue.


                                                  10
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 11 of 41. PageID #: 180




       34.     At all relevant times, Jonathan Sackler served as a trustee or one or more trusts

that beneficially owns and control Purdue and the Purdue-related Additional Defendants.

       35.     Jonathan Sackler is the direct or indirect beneficiary of some portion of 25% of

the profits earned by Purdue and the Purdue-related Additional Defendants from the sale of

opioids.

       36.     Mortimer D.A. Sackler served as a Vice President of Purdue during the period of

the development, launch, and promotion of OxyContin. He resigned that position in or after

2003, apparently due to a concern that executive officers of Purdue would be held personally

liable for opioid-related liabilities and crimes. However, he continued to serve on the Board of

Purdue.

       37.     Mortimer D.A. Sackler is the direct or indirect beneficiary of 7.14% of the profits

earned by Purdue and the Purdue-related Additional Defendants from the sale of opioids.

       38.     Kathe A. Sackler was a Vice President of Purdue in 1991, and by 2000 she was a

Senior Vice President. She resigned that position in or about 2003 due to a concern that

executive officers of Purdue would be held personally liable for opioid-related liabilities and

crimes. However, she continued to serve on the Board of Purdue.

       39.     Kathe A. Sackler is the direct or indirect beneficiary of 7.14% of the profits

earned by Purdue and the Purdue-related Additional Defendants from the sale of opioids.

       40.     Ilene Sackler Lefcourt served as Vice President of Purdue during the period of the

development, launch, and promotion of OxyContin. She resigned that position in or after 2003,

apparently due to a concern that executive officers of Purdue would be held personally liable for

opioid-related liabilities and crimes. However, she continued to serve on the Board of Purdue.




                                               11
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 12 of 41. PageID #: 181




         41.   Ilene Sackler Lefcourt is the direct or indirect beneficiary of 7.14% of the profits

earned by Purdue and the Purdue-related Additional Defendants from the sale of opioids.

         42.   At all relevant times, Beverly Sackler served as a trustee of one or more trusts that

beneficially own and control Purdue and the Purdue-related Additional Defendants and to which

50% of the profits of Purdue and the Purdue-related Additional Defendants from the sale of

opioids has been conveyed. She has also served as a member of the board of directors of Purdue

and Purdue-related entities since the 1990s.

         43.   Beverly Sackler is the direct or indirect beneficiary of some portion of 50% of the

profits earned by Purdue and the Purdue-related Additional Defendants from the sale of opioids.

         44.   Theresa Sackler is the direct or indirect beneficiary of 50% of the profits earned

by Purdue and the Purdue-related Additional Defendants from the sale of opioids. She has also

served as a member of the board of directors of Purdue and Purdue-related entities since the

1990s.

         45.   David A. Sackler is the direct or indirect beneficiary of some portion of 25% of

the profits earned by Purdue and the Purdue-related Additional Defendants from the sale of

opioids. He has also served as a member of the board of directors of Purdue and Purdue-related

entities since 2012.

         46.   Stuart Baker joined Purdue in 1994 as Executive Vice President of PPLP and as

Vice President of PF Co. He served as legal counsel to the entire Purdue organization and the

Sackler Families. He also served as an officer of other Sackler-owned, Purdue-related entities.

He served as a trustee of one or more trusts that beneficially own and control Purdue and the

Purdue-related Additional Defendants. He served as Corporate Secretary for Purdue, and as such

he gained direct knowledge of the wrongdoing alleged in the Complaint. In his capacity as an


                                                12
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 13 of 41. PageID #: 182




officer, director, and lawyer, he knowingly aided, abetted, participated in, and benefitted from

the wrongdoing of Purdue as alleged in the Complaint and knowingly aided and abetted the

Sackler Families, and the Purdue-related Additional Defendants, to structure their personal

affairs and the personal and business organizations they beneficially owned and controlled in

such a way as to attempt to evade personal liability for the wrongdoing in which he knew they

had engaged and in which he knew they intended to continue to engage.

       47.     The Sackler Families are the sole beneficial owners of Purdue and its associated

companies and the Purdue-related Additional Defendants. All of Purdue’s and its associated

companies’ profits go to Sackler-family trusts and entities.

       48.     Richard Sackler, Jonathan Sackler, Mortimer D.A. Sackler, Kathe Sackler, Ilene

Sackler Lefcourt, Beverly Sackler, Theresa Sackler, David Sackler, Rhodes Tech, Rhodes Tech

Inc., Rhodes Pharma, Rhodes Pharma Inc., the Raymond Sackler Trust (through its trustees),

P.F. Labs, and Stuart D. Baker each knowingly aided, abetted, participated in, and benefitted

from the wrongdoing of Purdue as alleged in the Complaint.

               (3)     The Sacklers and the Integration of Advertising and Medicine
       49.     As set forth in the Amended Complaint, before the defendants in this action began

their marketing campaign for prescription opioids, generally accepted standards of medical

practice dictated that opioids should only be used short-term, for instance, for acute pain, pain

relating to recovery from surgery, or for cancer or palliative care. In those instances, the risks of

addiction are low or of little significance. The commercial success of prescription opioids thus

would not have been possible without a fundamental shift in prescribers’ perception of the risks

and benefits of long-term opioid use.




                                                 13
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 14 of 41. PageID #: 183




       50.      As it turned out, Purdue was uniquely positioned to execute just such a maneuver,

thanks to the legacy of Arthur Sackler, the (now-deceased) brother of Raymond and Mortimer

Sackler.

       51.      Arthur Sackler created the pharmaceutical advertising industry as we know it—

laying the groundwork for the OxyContin promotion that would make the Sacklers billionaires.

       52.      Arthur Sackler, a psychiatrist turned “ad man,” was both a psychiatrist and a

marketing executive, and, by many accounts, a brilliant and driven man. He pursued two careers

simultaneously, as a psychiatrist at Creedmoor State Hospital in New York and the president of

an advertising agency called William Douglas McAdams. Arthur pioneered both print

advertising in medical journals and promotion through physician “education” in the form of

seminars and continuing medical education courses. He understood the persuasive power of

recommendations from fellow physicians, and did not hesitate to manipulate information when

necessary. For example, one promotional brochure produced by his firm for Pfizer showed

business cards of physicians from various cities as if they were testimonials for the drug, but

when a journalist tried to contact these doctors, he discovered that they did not exist.

       53.      Arthur Sackler revolutionized medical marketing in the 1950’s and 60’s by

creating the very marketing ploys his family later used to perpetuate the massive fraud alleged in

this action. In striving to make Pfizer (with its blockbuster drug, valium) a household name

among physicians, Arthur Sackler recognized that “selling new drugs requires a seduction of not

just the patient but the doctor who writes the prescription,” and he maximized influence over

physician prescribing by developing the following marketing ploys to disseminate

pharmaceutical messaging to the masses under the guise of science and truth:


             a. contacting prescribers directly with a variety of perks, benefits and even job


                                                 14
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 15 of 41. PageID #: 184




                offers;

             b. publishing seemingly neutral articles in medical journals, citing scientific studies

                (frequently underwritten by the pharmaceutical companies whose products he was

                marketing);

             c. marketing illnesses (i.e., lamenting and marketing the under treatment of

                purported illnesses and the corresponding under-utilization of drugs he was

                promoting);

             d. paying prominent physicians to endorse his products; and
             e. funding continuing medical education programs (“CME’s”), controlling the

                messaging of key opinion leaders, and maximizing influence over physician

                prescribing practices.
       54.      In the 1960s, Arthur Sackler made Valium into the first hundred0-million-dollar

drug, so popular it became known as “Mother’s Little Helper.” His expertise as a psychiatrist

was one of the keys to his success. When Arthur’s client, Roche, developed Valium, it already

had a similar drug, Librium, another benzodiazepine, on the market for treatment of anxiety. So

Arthur invented a condition he called “psychic tension”—essentially stress—and pitched Valium

as the solution. The campaign, for which Arthur was compensated based on volume of pills sold,

was a remarkable success.

       55.      In marketing tranquilizers Librium and Valium, Arthur Sackler broadened his

customer base to potentially include everyone. For example, one campaign encouraged doctors

to prescribe Valium to people with no psychiatric symptoms whatsoever, urging doctors to

“consider the usefulness of Valium” in patients with no demonstrable pathology. Such marketing

led one physician, writing in the journal Psychosomatics in 1965, to ask, “When do we not use

this drug?’”



                                                 15
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 16 of 41. PageID #: 185




       56.     As the line between medical education and medical marketing became very

deliberately blurred, Valium became the pharmaceutical industry’s first hundred-million-dollar,

and then billion-dollar, drug. For his design and creation of these medical marketing strategies,

he was posthumously inducted into the Medical Advertising Hall of Fame, but as succinctly put

by Allen Frances, the former chair of psychiatry at Duke University School of Medicine: “‘Most

of the questionable practices that propelled the pharmaceutical industry into the scourge it is

today can be attributed to Arthur Sackler.’”

       57.     In other precursors of the current crisis, Arthur Sackler promoted these drugs

despite the lack of any studies of their addictive potential. Additionally, he started his own

newspaper, the Medical Tribune, despite concerns that a pharmaceutical advertiser should not be

publishing a medical periodical directed at doctors. He paid Key Opinion Leaders (“KOLs”),

including for example, Henry Welch (then chief of FDA’s antibiotics division), almost $300,000

in exchange for his help in promoting pharmaceutical drugs. By the 1970’s, doctors were

prescribing more than 100 million tranquilizer prescriptions annually, creating what Sen. Edward

Kennedy called “‘a nightmare of dependence and addiction.’”

               (4)    The Sackler Families and the Development of OxyContin
       58.     The Sackler brothers—Arthur, Mortimer, and Raymond—purchased a small

patent-medicine company called the Purdue Frederick Company (“PF Co.”) in 1952.

       59.     PF Co. had been formed in 1892 by Dr. John Purdue Gray and George Frederick

Bingham and incorporated in New York on June 29, 1911.

       60.     After Arthur’s death, Mortimer and Raymond bought out his share. Since that

time PF Co. and its associated companies have all been owned by the Raymond Sackler Family

and the Mortimer Sackler Family.



                                               16
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 17 of 41. PageID #: 186




       61.     PF Co. is no longer an active New York corporation, having been merged into PF

Labs on May 7, 2004.

       62.     At all relevant times, PF Co. and PF Labs have been beneficially owned by the

Sackler Families and controlled by them through Defendant Sackler Family members.

       63.     After the Sackler brothers acquired PF Co. in 1952, they sold products ranging

from earwax remover to antiseptic, and it became a profitable business. As an advertising

executive, Arthur was not involved, on paper at least, in running the family business because that

would have been a conflict of interest. Raymond became the head executive of the family’s US

business while Mortimer ran the UK side of the business.

       64.     Beginning in the 1980s PF Co. and its associated companies engaged in the

business of designing, testing, manufacturing, labeling, advertising, promoting, marketing,

selling or distributing opioids throughout the United States.

       65.     In the 1980s, the Sackler Families, through a UK affiliate, acquired a Scottish

drug producer that had developed a sustained-release technology suitable for morphine. PF Co.

marketed this extended-release morphine as MS Contin. It quickly became the Sackler Families’

best seller. As the patent expiration for MS Contin loomed, the Sackler Families searched for a

drug to replace it. Around that time, Richard Sackler had become more involved in the

management of the families’ businesses. Richard had grand ambitions for the family business;

according to a long-time Purdue sales representative, “Richard really wanted Purdue to be big—I

mean really big.” Richard believed Purdue should develop another use for its “Contin” timed-

release system.

       66.     In 1990, Purdue’s VP of clinical research, Robert Kaiko, sent a memo to Richard

and other executives recommending that the company work on a pill containing oxycodone. At


                                                17
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 18 of 41. PageID #: 187




the time, oxycodone was perceived as less potent than morphine, largely because it was most

commonly prescribed as Percocet, the relatively weak oxycodone-acetaminophen combination

pill, or Percodan, where it was blended with aspirin. By contrast, the oxycodone pill developed

by Purdue – OxyContin -- was pure oxycodone in a time-release formula similar to MS Contin,

and it was more potent than morphine. Purdue also decided to produce pills with as much as 160

milligrams of oxycodone, far in excess of any other prescription opioid.

       67.     OxyContin was created by PF Co., but responsibility for designing, testing,

manufacturing, labeling, advertising, promoting, marketing, selling, and distributing OxyContin

and other opioid products was shared among PF Co., Purdue, PF Labs, and other Purdue-related

companies.

       68.     At relevant times, OxyContin was manufactured by PF Labs.

       69.     MS Contin had always been limited by the stigma associated with morphine.

Oxycodone did not have that problem, and what is more, it was sometimes mistakenly called

“oxycodeine,” which also contributed to a false perception of relatively lower potency, because

codeine is weaker than morphine. Purdue acknowledged using this false perception to its

advantage when it eventually pled guilty to criminal charges of “misbranding” in 2007, admitting

that it was “well aware of the incorrect view held by many physicians that oxycodone was

weaker than morphine” and “did not want to do anything ‘to make physicians think that

oxycodone was stronger or equal to morphine’ or to ‘take any steps . . . that would affect the

unique position that OxyContin’” held among physicians.

       70.     Even though oxycodone did not have the same stigma as morphine, in focus

groups conducted before OxyContin’s release, Purdue learned that doctors were concerned about




                                               18
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 19 of 41. PageID #: 188




the abuse potential of opioids. The focus group concluded that the perceived abuse potential of

opioids was the “‘biggest negative’ that might prevent widespread use of the drug.”

       71.     For Purdue and OxyContin to be “really big,” Purdue needed to both distance its

new product from the traditional view of narcotic addiction risk, and broaden the drug’s uses

beyond cancer pain and hospice care. A marketing memo sent to Purdue’s top sales executives in

March 1995 recommended that if Purdue could show that the risk of abuse was lower with

OxyContin than with traditional immediate-release narcotics, sales would increase. As discussed

below, Purdue did not find or generate any such evidence, but this did not stop Purdue from

making that claim regardless.

       72.     Despite the fact that there has been little or no change in the amount of pain

reported in the U.S. over the last twenty years, Purdue recognized an enormous untapped market

for its new drug. As Dr. David Haddox, a Senior Medical Director at Purdue, declared on the

Early Show, a CBS morning talk program, “There are 50 million patients in this country who

have chronic pain that’s not being managed appropriately every single day. OxyContin is one of

the choices that doctors have available to them to treat that.”

               (5)     Purdue’s Officers and Directors Knew About, and Participated in,
                       Purdue’s Wrongdoing
       73.     The members of the board of Purdue were intimately involved in the activities of

the entities that they managed, often on a weekly or even daily basis.

       74.     Purdue, PF Co., PF Labs, and the Sackler Families launched OxyContin with one

of the biggest pharmaceutical marketing campaigns in history, deploying many persuasive

techniques pioneered by Arthur. They trained and armed a force of approximately 1,000 sales

representatives with charts showing OxyContin's purported benefits. A major thrust of the sales

campaign was that OxyContin should be prescribed not merely for the kind of severe short-term


                                                 19
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 20 of 41. PageID #: 189




pain associated with surgery or for cancer pain but also for less acute, longer-lasting pain, such

as arthritis, back pain, sports injuries, fibromyalgia. The number of conditions that OxyContin

could treat seemed almost unlimited.

       75.     The training included "training in 'overcoming objections' from clinicians." "If a

doctor inquired about addiction," the representative was instructed to respond thus: "'The

delivery system is believed to reduce the abuse liability of the drug.'"            Another sales

representative said that Purdue executives "told us to say things like it is 'virtually' non-

addicting."

       76.     Purdue sales representatives were provided with studies and literature provided by

other physicians. Purdue had a speakers' bureau through which it paid several thousand doctors

to attend medical conferences and deliver presentations about OxyContin's merits. "Doctors

were offered all-expenses-paid trips to pain-management seminars in places like Boca Raton."

Internal documents reflect that doctors who attended these seminars wrote OxyContin

prescriptions more than twice as often as those who didn't.

       77.     Purdue also advertised in medical journals and produced promotional videos

featuring not just satisfied patients but also doctor's testimonials. "The marketing of OxyContin

relied on an empirical circularity: the company convinced doctors of the drug's safety with

literature that had been produced by doctors who were paid, or funded, by the company."

       78.     According to a former OxyContin sales representative, Richard Sackler was "'the

dude that made it happen.'"       Richard Sackler himself was tireless in his dedication to

OxyContin's success. When benefit plans began citing OxyContin abuse as an excuse not to pay,

Richard Sackler sent an email to sales representatives stating that, for insurers, "'addiction' may

be a convenient way to just say 'NO.'"



                                                20
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 21 of 41. PageID #: 190




       79.     Members of the Sackler family were daily on site at Purdue's headquarters,

controlling the management of their family business and all of its employees.

       80.     Richard Sackler is named as inventor on some 50 patents relating to oxycodone

and other pain medications, including several patents apparently issued as late as 2016. Virtually

all such patents invented by Richard Sackler were assigned to Purdue.

       81.     In 1997, both Richard and Kathe Sackler were part of a conspiracy to deceive

physicians into believing that oxycodone was half as strong as morphine, when in fact the

opposite was true; this deception was known by Purdue to ease the fears of well-meaning and

careful physicians about prescribing OxyContin for non-cancer pain uses.

       82.     In the late 1990s Richard, Jonathan and Kathe Sackler participated in an unlawful

attempt to deceive European drug regulators into classifying OxyContin as totally uncontrolled,

i.e., capable of being obtained without a prescription, despite the fact that all of these family

members were by then well aware of the abuse liability of the drug in the U.S.

       83.     In 2001, Kathe Sackler attended a talk given by the chief medical officer of

Sikorsky Aircraft, in which the speaker expressed grave concern about the risks associated with

OxyContin; instead of acknowledging this fact to the medical officer, Kathe Sackler instead

remained silent and returned to the Purdue headquarters, where employees were directed to find

ways to undercut and deflect the Sikorsky medical officer's concerns.

       84.     In the period around 1999-2003, Purdue developed a method to cause company

emails to self-destruct at a pre-determined time; this was an attempt to create a system where

potentially incriminating documents would automatically self-destruct, even after receipt by

unrelated third-parties. Richard, Jonathan and Kathe Sackler all were directly aware and

supportive of this project.


                                               21
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 22 of 41. PageID #: 191




               (6)    Members of the Sackler Families Were Aware of Risks Associated
                      With OxyContin No Later Than the Summer of 1999
       85.     That prescription opioids would lead to addiction, and specifically that OxyContin

could be, and was being, abused has been known to Purdue and to the members of the Sackler

Families involved in running the family business since at least the summer of 1999.

       86.     In summer of 1999, a Purdue sales representative wrote to the President of Purdue

reporting widespread abuse of OxyContin. As a result of that memo, a secretary at Purdue,

Maureen Sara, was tasked with doing research on the Internet to learn about the nature and scope

of the abuse, specifically to learn about how recreational drug users were misusing OxyContin.

       87.     In order to carry out her assignment, Ms. Sara began visiting drug-user Internet

"news groups" or "chat rooms" on a daily basis. Two groups in particular that Ms. Sara visited

were alt.drugs and alt.drugs.hard. For a period of time, in the late summer and early fall of 1999,

Ms. Sara would forward screen shots from these news groups on a daily basis to Howard Udell,

then General Counsel of Purdue.

       88.     In October or November, 1999, Ms. Sara prepared a memo summarizing her

research into misuse of OxyContin. The memo described how users would remove the coating

on the OxyContin pills, crush them, cook them, and snort or shoot them. Ms. Sara sent the

memo containing the details of OxyContin abuse by drug users not only to the President of

Purdue and to its General Counsel, but also to Purdue's then-medical director, and directly to

members of the Sackler Families involved in the management of the company, including Richard

Sackler, Jonathan Sackler, and Kathe Sackler.

       89.     Purdue, Richard Sackler, Jonathan Sackler, and Kathe Sackler were thus all aware

of the risk and abuse potential and reality of OxyContin long before Purdue acknowledged the

same to government, the healthcare community or the public. In sworn testimony before the U.S.


                                                22
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 23 of 41. PageID #: 192




House of Representatives in 2001, Purdue President Michael Friedman, in the presence of

Purdue General Counsel Howard R. Udell, swore that the first the companies knew of

widespread abuse of OxyContin was in the year 2000. This was, of course, patently inconsistent

with what the members of the Sackler Families knew from the Sara memo they had received in

1999. No member of the Sackler Families at any time tried to correct the false narrative

promulgated far and wide about the abuse liability of OxyContin, nor corrected the false

statement about when Purdue became aware of this problem with the drug.

       90.     Richard Sackler, Kathe Sackler, Jonathan Sackler, Theresa Sackler, Mortimer

D.A. Sackler, and Ilene Sackler have been aware since at least 1999 of potential liability for

Purdue, and those acting in concert with Purdue, because of the addictive nature of OxyContin.

With the intention of shielding from creditors the proceeds of their wrongdoing, they have

stripped out of Purdue and the Purdue-related Additional Defendants each and every year

hundreds of millions of dollars of profits from the sales of OxyContin and other opioid-

containing medications, including a generic form of OxyContin sold by Rhodes Pharma. All

such transfers were and are fraudulent within the meaning of applicable fraudulent transfer

statutes and case law; all such transfers unjustly enriched the recipients; and all such transferred

funds should be clawed back from the Sackler Defendants in order to satisfy the opioid-related

liabilities of the companies from which they were transferred.

               (7)     The Purdue-Related Additional Defendants Continued to Oversee
                       Purdue’s Wrongdoing Even after Purdue Was Fined and Warned
                       about Its Conduct
       91.     From 2001 to 2007, Purdue was investigated by 26 states and the U.S.

Department of Justice. Beginning in or about 2003, advised by Baker, who served as legal

counsel to the entire Purdue organization and the Sackler Families, all of the Sacklers who

served as executive officers of Purdue resigned out of concern that they might be held personally

                                                23
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 24 of 41. PageID #: 193




liable for conduct on behalf of Purdue in which they had previously engaged and in which they

expected and intended to continue to engage after their respective resignations.

       92.     In 2007, PFC agreed to pay nearly $700 million and pleaded guilty to a felony for

misleading doctors and patients about opioids. Purdue admitted that its supervisors and

employees, “with the intent to defraud or mislead, marketed and promoted OxyContin as less

addictive, less subject to abuse and diversion, and less likely to cause tolerance and withdrawal

than other pain medications.” At the same time, Purdue executive officers Michael Friedman (the

CEO), Howard Udell (Vice President and General Counsel), and Paul Goldenheim (Chief

Medical Officer) pleaded guilty to criminal charges that they let Purdue deceive doctors and

patients about its opioids.

       93.     As part of the plea agreement in 2007, Purdue agreed to a detailed Corporate

Integrity Agreement with the U.S. government. The Agreement required Purdue to appoint a

Compliance Officer who would “be a member of senior management of Purdue,” “make periodic

(at least quarterly) reports regarding compliance matters directly to the Board of Directors,” and

“be authorized to report on such matters to the Board of Directors at any time.” The Corporate

Integrity Agreement was built on the idea that the directors would ensure that Purdue never

deceived doctors and patients again.

       94.     The Corporate Integrity Agreement included the directors as “Covered Persons”

from 2007 through 2012. All Covered Persons, including the directors and CEO, were required

to comply with rules that prohibit deception about Purdue opioids. The directors were required

to undergo hours of training to ensure that they understood the rules. The directors were

required to report all violations of the rules. The directors were warned that they could face




                                                24
     Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 25 of 41. PageID #: 194




consequences if they failed to comply with the rules. The directors certified that they had read

and understood the rules and would comply with them.

        95.    The directors were acutely aware of their obligations under the Corporate

Integrity Agreement because, in 2009, Purdue had to report to the Inspector General of the U.S.

Department of Health and Human Services that it had not immediately trained a new director on

the Agreement. Purdue reported: “a new Director was appointed to Purdue’s Board of Directors,

without timely notice to either Corporate Compliance or the Office of General Counsel, as

otherwise required by policy, resulting in failure to timely launch the training assignment to this

new Board member.” Purdue assured the U.S. government that it had trained the new director:

“Relevant personnel were reminded of existing policy to notify Corporate Compliance and the

Office of General Counsel of changes to the Board of Directors. In both instances, these

individuals completed their training assignments within 1 day of Corporate Compliance learning

of this issue.” Purdue promised the government that the director’s training had addressed “the

proper methods of promoting, marketing, selling, and disseminating information about Purdue’s

products,” so Purdue would never deceive doctors and patients again.

        96.    Every year since the 2007 guilty plea and Corporate Integrity Agreement,

Purdue’s directors received warning signs about Purdue’s ongoing misconduct and opportunities

to stop it.

        97.    In 2008, more Americans died from opioid overdoses than ever before.

        98.    In 2009, the American Journal of Public Health published an article about

Purdue’s opioid marketing entitled, “The Promotion and Marketing of OxyContin: Commercial

Triumph, Public Health Tragedy.” The article detailed Purdue’s use of sales representatives,




                                                25
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 26 of 41. PageID #: 195




targeting of high-prescribers, and deception about addiction. That same year, CDC reported that

deaths from opioids had recently tripled.

       99.     In 2010, Time magazine published a story about Purdue’s opioids entitled, “The

New Drug Crisis: Addiction by Prescription.” Overdoses were the leading cause of accidental

death in 15 states. By the spring of 2010, Purdue’s directors had been told that Purdue could not

get product liability insurance to cover OxyContin.

       100.    In 2011, the White House announced that prescription drug abuse was the nation’s

fastest-growing drug problem and called for “educating healthcare providers about prescription

drug abuse … so they will not over-prescribe[.]” The CDC announced that prescription opioid

overdoses had reached epidemic levels and called out Purdue’s opioids by name. That same

year, Fortune magazine interviewed Purdue executives, including Vice President Alan Must.

Fortune published a story about Purdue, the Sackler Families, and evidence that they profited

from opioid addiction. Mr. Must admitted that Purdue was “well aware” of concerns about its

conduct: “We are well aware of detractors. For those individuals who think we’re evil … I don’t

think there’s anything we can do that is going to change their opinion.”

       101.    In 2012, the U.S. Senate launched an investigation into whether Purdue was

deceiving doctors and patients about opioids. In a letter to the CEO of Purdue, the Senators

warned of “an epidemic of accidental deaths and addiction resulting from the increased sale and

use of powerful narcotic painkillers.” The Senate letter warned Purdue specifically of the danger

of patients taking higher doses: “over the last decade, the number of prescriptions for the

strongest opioids has increased nearly fourfold, with only limited evidence of their long-term

effectiveness or risks while data suggest that hundreds of thousands of patients nationwide may

be on potentially dangerous doses.” The Senate letter also warned about Purdue misleading



                                                26
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 27 of 41. PageID #: 196




doctors and patients: “There is growing evidence pharmaceutical companies that manufacture

and market opioids may be responsible, at least in part, for this epidemic by promoting

misleading information about the drugs’ safety and effectiveness.” The Senate put the directors

on notice that they were under scrutiny, demanding that Purdue produce to investigators a set of

“presentations, reports, and communications to Purdue’s management team or board of directors

from 2007 to the present.”

       102.    In 2013, the Los Angeles Times revealed that Purdue had been compiling a list for

the past decade of 1,800 doctors suspected of recklessly prescribing its opioids, but Purdue had

reported only 8% of them to authorities.         Purdue attorney Robin Abrams gave multiple

interviews to the newspaper. Abrams was a Vice President of Purdue, and she signed Purdue’s

2007 settlement agreement. In 2013, she admitted that Purdue had the list, and said Purdue

would not agree to disclose it to authorities because, “I don’t really want to open up an

opportunity for folks come in here and start looking and second-guessing.”

       103.    Abrams and Purdue’s directors knew they had reason to fear scrutiny. The state

of Kentucky was prosecuting a lawsuit against Purdue for deceiving doctors and patients about

opioids.   Purdue’s lawyers surveyed residents who could be on the jury. One-third knew

someone who overdosed or was seriously hurt taking a Purdue opioid, and 29 percent knew

someone who died. Purdue itself filed those statistics in court.

       104.    In 2014, Edward Mahony, the Executive Vice President, CFO, and Treasurer of

Purdue stated that the Kentucky lawsuit was so significant that it could “jeopardize Purdue’s

long-term viability.” That same year, the Governor of Massachusetts declared the opioid crisis a

public health emergency.




                                                27
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 28 of 41. PageID #: 197




          105.   In 2016, the CDC published the CDC Guideline for Prescribing Opioids for

Chronic Pain to try to stop dangerous opioid prescribing.

          106.   In 2017, the President of the United States declared the opioid crisis a national

public health emergency.

          107.   PPI’s directors knew or should have known about these warnings and many

others.

          108.   The directors knew about, allowed, and directed Purdue’s deception. They

oversaw Purdue’s scheme to send sales representatives to visit doctors thousands of times. They

oversaw Purdue’s scheme to hire top prescribers to promote its opioids. They oversaw Purdue’s

effort to get more patients on higher doses of opioids for longer periods. They were aware of,

allowed and directed the content of the messages conveyed in Purdue’s marketing.

          109.   The directors of PPI controlled PPLP. The quarterly reports distributed to the

directors of PPI demonstrate that the directors in fact controlled both PPI and PPLP. The reports

and minutes make clear that the directors of PPI were kept fully informed of the activities of

Purdue in the areas “Finance,” “Sales & Marketing,” “Manufacturing & Supply Chain,”

“Quality,” “Research & Development,” “Discovery Research,” “Licensing & Business

Development,” “Corporate Compliance,”           “External Affairs,” “Health Policy,” “Human

Resources,” and “Information Technology” — all of which were overseen by the directors.

          110.   The directors oversaw Purdue’s sales representatives. Richard Sackler testified

that the sales representatives were the main way that Purdue promoted its opioids. He testified

that the key to getting doctors to prescribe and keep prescribing Purdue opioids was regular

visits from the sales force. The board tracked the exact number of sales representatives and the

exact number of visits they made to urge doctors to prescribe Purdue opioids. The board knew


                                                28
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 29 of 41. PageID #: 198




which drugs were promoted; how many visits sales representatives averaged per workday; how

much each visit cost Purdue; and the company’s plan for sales visits in each upcoming quarter.

The Board approved specific plans to hire new sales representatives, hire and promote new

District and Regional managers, and create sales “territories” in which representatives would

target doctors.

        111.      The directors oversaw the tactics that sales representatives used to push opioids.

A board report analyzed a Purdue initiative to use iPads during sales visits, which increased the

average length of the sales meeting with the doctor to “16.7 minutes in front of the customer.”

        112.      The directors oversaw promotional claims that representatives presented to

doctors during sales visits. They received reports, for example, that a “review of call notes”

recorded by Purdue sales representatives “suggested potential comparative claims of superiority

of Purdue products relative to competitors,” and deceptive promotion of opioids as treatment for

“minor pain,” including hundreds of examples of deceptive marketing that required “extensive

remedial actions.”

        113.      The directors oversaw Purdue’s research, including research that contradicted its

marketing. The board received reports about studies of Purdue opioids in “opioid-naïve” patients

and patients with osteoarthritis, down to the details of the strategy behind the studies and the

enrollment of the first patients.

        114.      The directors oversaw Purdue’s improper response to signs of “abuse and

diversion” by high-prescribing doctors. The board was told exactly how many “Reports Of

Concern” Purdue sales representatives submitted to the company about doctors they visited to

promote opioids (572 Reports Of Concern in the July 2007 board report); how many “field

inquiries” Purdue had decided to conduct in response to the reports (21 inquiries in response to



                                                  29
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 30 of 41. PageID #: 199




572 Reports Of Concern); and even that six Reports Of Concern were submitted in

Massachusetts.

       115.      The directors even monitored sales representatives’ emails.          Purdue held

thousands of face-to-face sales meetings with doctors, but the company prohibited its sales

representatives from writing emails to doctors, which could create evidence of Purdue’s

misconduct.   When Purdue found that some sales representatives had emailed doctors, the

company conducted an “investigation” and reported to the board that sales representatives had

been disciplined and that their emails would be discussed at the board meeting.

       116.      The directors also oversaw Purdue’s strategy to pay high prescribers to promote

Purdue opioids. A report for the board listed the exact number of conferences and dinner

meetings, with attendance figures, and assured the directors: “We are tracking the prescribing

trends of these attendees following the programs and will report the results in future reports.” The

board was told the amounts paid to certain doctors, and they received detailed reports on the

Return on Investment that Purdue gained from paying doctors to promote its drugs. The board

was told that Purdue would allow a “spending limit for gifts” of $750 per doctor per year; and

that the directors should personally report when they gave money, meals, or gifts to doctors to

promote Purdue drugs. The board was told explicitly that paying doctors to promote opioids was

“a high risk activity, in view of the potential for off-label or other improper promotional conduct

by third parties during such activities.” When Congress required disclosure of drug company

payments to doctors, the board was told there were “significant compliance implications” for

Purdue.

       117.      The directors also oversaw Purdue’s strategy to push patients to higher doses of

opioids — which are more dangerous, more addictive, and more profitable. The board routinely



                                                30
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 31 of 41. PageID #: 200




received reports on Purdue’s efforts to push patients to higher doses. A report alerted the board

that “Net sales of the 40 and 80 mg strengths of OxyContin” had fallen below Purdue’s targets in

the fall of 2010 and were $85 million below budget. By summer, the board learned that income

was $500 million below budget “mainly due to declining sales in 40 mg and 80 mg strengths.

By fall, the board reviewed an assessment that Purdue had lost more than $800 million in

revenue because patients weren’t taking enough 40 mg and 80 mg doses. The board dug into the

issue.   Multiple reports to the board identified as a “threat” an initiative by public health

authorities to save lives by requiring doctors to consult with pain specialists before prescribing

opioid doses higher than 80mg/day. The CEO and directors oversaw Purdue’s effort to push back

against that public health “threat.” Executives were pleased to report to the directors in 2013 that

“initiatives to validate increased total daily doses are having impact in the field.”

         118.   The directors also oversaw Purdue’s scheme to use higher doses of opioids to

keep patients on drugs for longer periods of time. The board received detailed reports of how

many patients stayed on Purdue’s opioids for long periods (for example, longer than 35 days),

along with Purdue’s internal research showing that getting patients on higher doses keeps them

on the drugs longer — all of which puts patients at greater risk of addiction and death. The board

received the confidential results of a study of 57,000 patients that Purdue performed explicitly to

determine how opioid dose “influences patient length of therapy.” The results showed that

patients on the highest doses “are the most persistent.” The “Recommended Actions” presented

to the board included “additional workshops for the sales force” and “specific direction” to the

sales representatives about using higher doses to keep patients on drugs longer.

         119.   The board was told in writing that encouraging higher doses “is a focal point of

our promotion,” and that sales representatives would “emphasize the importance” of increasing



                                                 31
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 32 of 41. PageID #: 201




patients’ opioid doses, as soon as 3 days after starting treatment. The board even tracked specific

sales materials, such as “two new patient profiles designed to improve patient identification and

titration” – to get more opioid-naïve and elderly patients on higher doses of opioids for longer

periods of time. The board was told the exact research behind the sales strategy: higher doses

would keep patients on drugs longer because Purdue had found that “83% of patients who

discontinued were never titrated to higher doses.” The directors knew or should have known that

Purdue’s sales strategy was deceptive and that putting patients on opioids at higher doses and for

longer periods increased the risk of addiction, overdose, and death.

       120.    The directors also oversaw Purdue’s strategy of using “savings cards” to get

patients on Purdue opioids for longer periods. The board knew how many thousands of cards

were used each quarter, how the company calculated the Return On Investment, and that the

explicit goal of the program was to hook patients to “remain on therapy longer.”

       121.    The directors also oversaw Purdue’s strategy to target prescribers who did not

have special training in opioids (primary care doctors, nurse practitioners, and physician

assistants) because they “show the highest responsiveness” to Purdue’s sales push. Purdue

continued that strategy even though the DEA had expressed concern that Purdue was promoting

opioids to clinicians who were not adequately trained in pain management. The directors also

oversaw Purdue’s strategy to target elderly patients by promotion “targeted to HCPs that practice

in the long term care setting,” even down to the details of advertising that “leverages images of

older patients.” The directors knew or should have known that Purdue’s sales strategy was

deceptive and that targeting primary care doctors and elderly patients increased the risk of

addiction, overdose, and death.




                                                32
     Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 33 of 41. PageID #: 202




        122.    The directors also oversaw Purdue’s push to steer patients away from safer

alternatives.   They tracked the company’s effort to emphasize “the true risk and cost

consequence of acetaminophen-related liver toxicity.” The board even oversaw Purdue’s

deceptive websites, and received reports about the specific section that was found to be deceptive

by the New York Attorney General.

        123.    The directors also oversaw Purdue’s response to signs that patients were being

harmed. Reports of harm came in by the hundreds and even thousands. One board report

explained that “in excess of 5,000 cases with alleged adverse events have already been received

and processed by Drug Safety and the Litigation Support group” during a single quarter.

        124.    Each of the reports described above was sent to every Sackler Defendant on the

board at the time they were prepared.

        125.    Stuart Baker also received all of the reports described above.

B.      Allegations Against Additional Manufacturer Defendants
                (1)    Mylan Pharmaceuticals, Inc.
        126.    Defendant, Mylan Pharmaceuticals, Inc. (“Mylan”), is a West Virginia corporation

with its principal place of business in Canonsburg, Pennsylvania.

        127.    At all relevant times, Mylan has packaged, distributed, supplied, sold, and

otherwise placed into the stream of commerce, both nationwide and in this jurisdiction, opioid

drugs. Mylan has also labeled, described, marketed, advertised, promoted and purported to warn

or purported to inform prescribers and users regarding the benefits and risks associated with the

use of the prescription opioid drugs.

        128.    Further, Mylan manufactured and sold prescription opioids without fulfilling its

legal duty to prevent diversion and report suspicious orders.




                                                 33
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 34 of 41. PageID #: 203




         129.   Based on private ARCOS data made available to Plaintiff(s), drugs sold and

manufactured by Mylan represent a substantial market share in Plaintiff’s jurisdiction from at

least 2006-2014.

         130.   Mylan’s conduct thus directly caused the worst man-made epidemic in modern

medical history—the misuse, abuse, and over-prescription of opioids across this country,

including in this jurisdiction.

                (2)     Par Pharmaceutical
         131.   Defendant, Par Pharmaceutical, Inc. is a New York corporation with its principal

place of business located in Chestnut Ridge, New York. Par Pharmaceutical is a wholly-owned

subsidiary of Par Pharmaceutical Companies, Inc. and holds itself out as “an Endo International

Company.”

         132.   Defendant Par Pharmaceutical Companies, Inc. is a Delaware corporation with its

principal place of business in Chestnut Ridge, New York (Par Pharmaceutical, Inc. and Par

Pharmaceutical Companies, Inc. are referred to collectively as “Par Pharmaceutical”). Par

Pharmaceutical is an affiliate of Defendants Endo Health Solutions Inc. and Endo

Pharmaceuticals, Inc.

         133.   At all relevant times, Par Pharmaceutical has packaged, distributed, supplied, sold,

and otherwise placed into the stream of commerce, both nationwide and in this jurisdiction, opioid

drugs.    Par Pharmaceutical has also labeled, described, marketed, advertised, promoted and

purported to warn or purported to inform prescribers and users regarding the benefits and risks

associated with the use of the prescription opioid drugs.

         134.   Further, Par Pharmaceutical manufactured and sold prescription opioids without

fulfilling its legal duty to prevent diversion and report suspicious orders.



                                                  34
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 35 of 41. PageID #: 204




        135.    Based on private ARCOS data made available to Plaintiff(s), drugs sold and

manufactured by Par Pharmaceutical represent a substantial market share in Plaintiff’s jurisdiction

from at least 2006-2014.

        136.    Par Pharmaceutical’s conduct thus directly caused the worst man-made epidemic

in modern medical history—the misuse, abuse, and over-prescription of opioids across this

country, including in this jurisdiction.

                (3)     SpecGX LLC
        137.    Defendant SpecGX LLC is a Delaware limited liability company with its principal

place of business in St. Louis, Missouri, and is a wholly owned subsidiary of Defendant

Mallinckrodt plc.

        138.    At all relevant times, SpecGX LLC has packaged, distributed, supplied, sold, and

otherwise placed into the stream of commerce, both nationwide and in this jurisdiction, opioid

drugs. SpecGX LLC also labeled, described, marketed, advertised, promoted and purported to

warn or purported to inform prescribers and users regarding the benefits and risks associated with

the use of the prescription opioid drugs.

        139.    Further, SpecGX LLC manufactured and sold prescription opioids without

fulfilling its legal duty to prevent diversion and report suspicious orders.

        140.    Based on private ARCOS data made available to Plaintiff(s), drugs sold and

manufactured by SpecGX LLC represent a substantial market share in Plaintiff’s jurisdiction from

at least 2006-2014.

        141.    SpecGX LLC’s conduct thus directly caused the worst man-made epidemic in

modern medical history—the misuse, abuse, and over-prescription of opioids across this country,

including in this jurisdiction.



                                                  35
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 36 of 41. PageID #: 205




                (4)     West-Ward Pharmaceuticals Corp.
        142.    Defendant West-Ward Pharmaceuticals Corp. (“West-Ward”) is a Delaware

corporation with its principal place of business located in Eatontown, New Jersey. West-Ward is

the United States agent and subsidiary of Hikma Pharmaceuticals PLC (“Hikma”), a London-

based global pharmaceutical company.

        143.    At all relevant times, West-Ward has packaged, distributed, supplied, sold, and

otherwise placed into the stream of commerce, both nationwide and in this jurisdiction, opioid

drugs. West-Ward also labeled, described, marketed, advertised, promoted and purported to warn

or purported to inform prescribers and users regarding the benefits and risks associated with the

use of the prescription opioid drugs.

        144.    Further, West-Ward manufactured and sold prescription opioids without fulfilling

its legal duty to prevent diversion and report suspicious orders.

        145.    Based on private ARCOS data made available to Plaintiff(s), drugs sold and

manufactured by West-Ward LLC represent a substantial market share in Plaintiff’s jurisdiction

from at least 2006-2014.

        146.    West-Ward’s conduct thus directly caused the worst man-made epidemic in

modern medical history—the misuse, abuse, and over-prescription of opioids across this country,

including in this jurisdiction.

                (5)     Indivior Inc.

        147.    Indivior Inc., f/k/a Reckitt Benckiser Pharmaceuticals, Inc., is a United States

affiliate-subsidiary of Indivior PLC, which is a multinational pharmaceutical company with its

headquarters in Slough, United Kingdom, and its principal place of business in Richmond,

Virginia. Indivior Inc. is identified in the ARCOS data to have been a significant labeler of

opioids in Tarrant County, Texas from 2006 to 2014.

                                                 36
     Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 37 of 41. PageID #: 206




        148.    At all relevant times, Indivior has packaged, distributed, supplied, sold, and

otherwise placed into the stream of commerce, both nationwide and in this jurisdiction, opioid

drugs. Indiviour also labeled, described, marketed, advertised, promoted and purported to warn or

purported to inform prescribers and users regarding the benefits and risks associated with the use

of the prescription opioid drugs.

        149.    Further, Indivior manufactured and sold prescription opioids without fulfilling its

legal duty to prevent diversion and report suspicious orders.

        150.    Based on private ARCOS data made available to Plaintiff(s), drugs sold and

manufactured by Indivior represent a substantial market share in Plaintiff’s jurisdiction from at

least 2006-2014.

        151.    Indivior’s conduct thus directly caused the worst man-made epidemic in modern

medical history—the misuse, abuse, and over-prescription of opioids across this country,

including in this jurisdiction.

C.      Allegations Against Additional Distributor Defendants
                (1)     Walgreen Co.
        152.    Walgreen Co. is an Illinois corporation with its principal place of business in

Deerfield, Illinois.

        153.    At all times relevant to this Complaint, Walgreen Co., as a DEA registrant or

through its DEA registrant subsidiaries and its affiliate entities, was in the business of

distributing and redistributing prescription opioids through the United States, including in this

jurisdiction. Walgreen Co. was also authorized to conduct business in this jurisdiction.

        154.    Based on the private ARCOS data made available to Plaintiff(s), drugs sold and

distributed by Walgreen Co. represent a substantial market share in Plaintiff’s jurisdiction from

at least 2006-2014.

                                                37
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 38 of 41. PageID #: 207




        155.    Walgreen Co.’s conduct thus directly caused the worst man-made epidemic in

modern medical history—the misuse, abuse, and over-prescription of opioids across this country,

including in this jurisdiction.

                (2)     CVS Pharmacy, Inc.

        156.    CVS Pharmacy, Inc. is a Rhode Island corporation with its principal place of

business in Woonsocket, Rhode Island.

        157.    At all times relevant to this Complaint, CVS Pharmacy, Inc., as a DEA registrant

or through its DEA registrant subsidiaries and its affiliate entities, was in the business of

distributing and redistributing prescription opioids through the United States, including in this

jurisdiction. CVS Pharmacy, Inc. was also authorized to conduct business in this jurisdiction.

        158.    Based on the private ARCOS data made available to Plaintiff(s), drugs sold and

distributed by CVS Pharmacy, Inc. represent a substantial market share in Plaintiff’s jurisdiction

from at least 2006-2014.

        159.    CVS Pharmacy, Inc.’s conduct thus directly caused the worst man-made epidemic

in modern medical history—the misuse, abuse, and over-prescription of opioids across this

country, including in this jurisdiction.

                (3)     Morris & Dickson Co., LLC

        160.    Morris & Dickson Co., LLC is a Louisiana limited liability company with its

principal place of business in Shreveport, Louisiana.

        161.    At all times relevant to this Complaint, Morris & Dickson Co., LLC, as a DEA

registrant or through its DEA registrant subsidiaries and its affiliate entities, was in the business

of distributing and redistributing prescription opioids through the United States, including in this




                                                 38
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 39 of 41. PageID #: 208




jurisdiction. Morris & Dickson Co., LLC was also authorized to conduct business in this

jurisdiction.

        162.    Based on the private ARCOS data made available to Plaintiff(s), drugs sold and

distributed by Morris & Dickson Co., LLC represent a substantial market share in Plaintiff’s

jurisdiction from at least 2006-2014.

        163.    Morris & Dickson Co., LLC’s conduct thus directly caused the worst man-made

epidemic in modern medical history—the misuse, abuse, and over-prescription of opioids across

this country, including in this jurisdiction.

                (4)     Walmart Inc.

        164.    Walmart Inc. is a Delaware corporation with its principal place of business in

Arkansas.

        165.    At all times relevant to this Complaint, Walmart Inc., as a DEA registrant or

through its DEA registrant subsidiaries and its affiliate entities, was in the business of

distributing and redistributing prescription opioids through the United States, including in this

jurisdiction. Walmart Inc. was also authorized to conduct business in this jurisdiction.

        166.    Based on the private ARCOS data made available to Plaintiff(s), drugs sold and

distributed by Walmart Inc. represent a substantial market share in Plaintiff’s jurisdiction from at

least 2006-2014.

        167.    Walmart Inc.’s conduct thus directly caused the worst man-made epidemic in

modern medical history—the misuse, abuse, and over-prescription of opioids across this country,

including in this jurisdiction.

                (5)     H.D. Smith, LLC




                                                39
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 40 of 41. PageID #: 209




        168.    H.D. Smith, LLC is a Delaware limited liability company with its principal place

of business in Springfield, Illinois.

        169.    At all times relevant to this Complaint, H.D. Smith, LLC, as a DEA registrant or

through its DEA registrant subsidiaries and its affiliate entities, was in the business of

distributing and redistributing prescription opioids through the United States, including in this

jurisdiction. H.D. Smith, LLC was also authorized to conduct business in this jurisdiction.

        170.    Based on the private ARCOS data made available to Plaintiff(s), drugs sold and

distributed by H.D. Smith, LLC represent a substantial market share in Plaintiff’s jurisdiction

from at least 2006-2014.

        171.    H.D. Smith, LLC’s conduct thus directly caused the worst man-made epidemic in

modern medical history—the misuse, abuse, and over-prescription of opioids across this country,

including in this jurisdiction.

                            COMMON FACTUAL ALLEGATIONS

        3.      By checking the boxes in this section, Plaintiff hereby incorporates by reference
to this document the common factual allegations set forth in the Summit County Pleadings as
identified in the Court’s Order implementing the Short Form procedure. Dkt. # 1282.

    ☒ Common Factual Allegations (Paragraphs 130 through 670 and 746 through 813)
    ☒ RICO Marketing Enterprise Common Factual Allegations (Paragraphs 814-848)
    ☒ RICO Supply Chain Enterprise Common Factual Allegations (Paragraphs 849-877)

        4.      If additional claims are alleged below that were not pled in Plaintiff’s Existing
Complaint (other than the RICO claims asserted herein), the facts supporting those allegations
must be pleaded here. Plaintiff(s) assert(s) the following additional facts to support the claim(s)
identified in Paragraph 6 below (below or attached):

None

                                            CLAIMS

       5.      The following federal RICO causes of action asserted in the Summit County
Pleadings as identified in the Court’s implementing order and any subsequent amendments, Dkt.

                                                40
    Case: 1:18-op-45274-DAP Doc #: 12 Filed: 03/15/19 41 of 41. PageID #: 210




Nos. 514, 1282, are incorporated in this Short Form by reference, in addition to the causes of
action already asserted in the Plaintiff(s)’s Existing Complaint (check all that apply):

   ☒ First Claim for Relief – Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Marketing
   Enterprise (Against Defendants Purdue, Cephalon, Janssen, Endo and Mallinckrodt (the
   “RICO Marketing Defendants”)) (Summit County Pleadings, Paragraphs 878-905)

   ☒ Second Claim for Relief – Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Supply
   Chain Enterprise (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
   McKesson, Cardinal, and AmerisourceBergen (the “RICO Supply Chain Defendants”))
   (Summit County Pleadings, Paragraphs 906-938)


          6.     Plaintiff asserts the following additional claims as indicated (below or attached):

None

        7.      To the extent Plaintiff(s) wish(es) to dismiss claims previously asserted in
Plaintiff(s)’s Existing Complaint, they are identified below and will be dismissed without
prejudice.

None


          WHEREFORE, Plaintiff(s) prays for relief as set forth in the Summit County Pleadings in

In Re National Prescription Opiate Litigation in the United States District Court for the Northern

District of Ohio, MDL No. 2804 and in Plaintiff’s Existing Complaint as has been amended

herein.

Dated:           3/15/2019                                    Evan M. Janush
                                                              Attorney for Plaintiff(s)




                                                  41
